Case ZFGSHC-FBIZOQBS\HUIPMn»lDo\oomemt@ coEi|edP&¥~l~B§/@B\ml:’age 1 of 2 PagelD 9

 

 

 

 

 

1.(‘lR./1)tsr.o)l\'. Col)E 2. PERSON nr:PRESENTI-;D \»'ol.rCllER .NINHER
TNW Bakcr, Arguess (\/¢
3. M,\t;. l)KT./l)t;t~: NUMBER 4. l)ts‘t‘. DKT./DEF. Nl,'l\-lBt~;R 5. APl't:ALs DKT.!|)EF. NUMBER h. O'l‘ltE”E BNBER on
2;05-020226-001~¢¢\\ “"'_" "'
7. lN C,\st:f\t,\'rTEn OF mmer s, PAYMEN T CATECORY 9. TYI‘E PERSON M;PRESENTED lu. try ` U;O§ gets v
t_!¢ ll l ' l
U.S. v, Bakcr Felony Aciult Defcndant Cri l AH 7' ll 3

 

 

 

 

ii. OI"FE:\'SE(S] Cii ARCED (Cite U.S. Cudt.', Tilie & St:l:tl'oll) ifmore titan one ulTense, list [up to f`lvt:) major oii`msts tharged, lrcordingtn severity of o|!`utse.

ll lS 922G. F -- UNLAWFUL TRANSPORT/POSSESS/RECE]VE FIREARMS THROUGH INTERSTATETHM/l‘ I%QELD
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iZ. r\T'i`ORNEY’S NAME (First Name, Mii.. i,ust Narne,int:iuding an)l sui`i'nc) 13. COURT ORDER w v '
¢\Noht,ttLth_,\nDREss m o ippuimngcm.n,o m c c.»cuuml W Gc iN, MEMPH
G'cii'ig`t,lh, J'Lil']l \:i F Subs F`orFederall)tfooder t:] R SuhsForRelainedAttnrne_v
40 S Main ST_ [:] P SuhsForPlne|Attorne_\' i:] \' Standhndnnsel
Suite ] 540 Prinr Atlorsle_\"s Nnm\-'.
MCmphiS TN 33103 Appoimmembule-.

NBeuuse the above-named person represented has testiiied under oath nr has
therwise satisfied this court that he or she [ll il financially unable tn employ counsel end
hit-phone Number: (90 i) 544~9339 (2] does not wish to waive counsel,and because the interesls ofjnsticr so require, the

attorney whme name a ears in ltem 12 is appointed t present this erson in this case.
14. N.»\ME r\ND MAiLiNG ADDRE,SS OF LAW FIRM [unl_v provide per instructions) pp p

 

  
 
   
   

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roftl\e Court

   

l 1 h
Signature of Fresiding udic 1|0|'|`1eer or B_v Or

 

 

 

   

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

07/ l 0/70{\§
Date otOrcter Nunc Pro Tune Dm\
Repayn:enl or partiat repayment ordered from the person represented for this service ac
time orappnlmmun. [l YES ij NO
cLAlM Foiz-simvcczs AND EXPENSE§_ ' ' ` ` " " E` ` ' ` l_Fon_C<_>`_UR‘T‘ _USE oNLY

Cr\t‘t;c;onn»:s nwth i¢emlzsr'mn or umw with damn C*ljg\l¢l'}:$n é\:n?:t:)_£i~e£‘§ N,i§;i§§§?)n B,HE§§§:EE)H A§§WEQ§AL
ti a. Arraignment and/or Plea 41

b. Bail and Detention Hearlngs

c. Motion Hearings
§ d. Trial
C e. Sentencing Hearings
3 f. Revocation l-learings
tr g. Appea|s Cnurt

h. Other (Specif_\' on additional sheets)

(Rare per hour § 8 ) TOTALS:

16. a. interviews and Conferenees
iii) b. Obtaining and reviewing records
0 c. I.egal research and brief writing
; d. Travei time
§ e. Investigative and Other work <speciry on maximum mem
§ (Rate per hour = S } TOTALS:
l'l. Travei Expenses (lodging, parking, meals. mileage, etc.)
ls. Other Expenses father chan expen. transcripts erc.)

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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19. CERT]F|CA'HON OF ATTORNEYFPAYEE FOR THE PERIOD 0 F SERV]CE 10. AFPO|NTMENT TERM|NAT|ON DATE Zl. CASE D]SPO Sl"i`ION
- lF OTHER Tli.»\N CASE COMPLET|ON
}'ROM TO
12. CLA.|M STATUS i:i Fina| Plyment m lnterim Fa_ymenl Number ___ m Suppiernenta| Puyment
lla\‘e _vou previously applied to the court fcr compensation and/ur remimbursemenl i`or this case'.’ m YES n NO lfyes, were you paid'.’ m YES [___i NO
Other than from the court, have _\‘ou, or toyo\lr knowledge has anyone eise, received payment (cnmpensatioz\ or anything or vllue} from any other source in connection with this
reprosenlatton'.' i:i YES i:i NO |fyes. give details un additional sheets.
l swear or affirm the truth or correctness ut‘ the above statementsl
Stgnatnre quttorne_v: Date:
_ ` s ‘_ _ 51 ;_: . _. ' " _ ` ; hrnovno`jspa'mvlvmm`¢ cql`m'r_ Use oNL\'
23, iN COURT COMF'. 2-1. OUT OF COURT COMP. 25. TR.AVEL EXPENSES 26. OTHER EXPENSES 11. TOTAL AM'l`. APPR.'CERT
Zil. SIGNATURE OF TliE. PRES]D]NG JUDlC]AL ()FFiCE.R DATE le\. .ll.‘[)GE/MAG, JLl|)GE CODt-l
Z‘l. ii\' COL`R'|` CO.\]F. Jll. OUT Ol" COU RT COMP. 31. 'l'RA't/l':i. EXPENSES 32. OT}lER E.\'PENSES 33. TDTAL AMT. AI’PROVE.D
341 SlCN.\TURE ()I-` CiiiI'IF .iUi)GE, COURT Oi" .»\i’P H¢\LS (()R DELEG.»\TE) Pa,\'menl DA'l`i", .'l~‘ia. JUD(;E CODE
approved in excess ol`tl:r statutory threshold allanunt.

 

 

 

 

 

Thls document entered on the docket Sheet in com llanc@
Wirh note 55 and/or 32(1:>) rnch on 7"£'('5“05:§

   

UNITED S`AsTE DSTRIC COURT - WEERST DISTRICT TNNESSEE

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This notice confirms a copy of thc document docketed as number 9 in
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J uni S. Ganguli

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Honorable J on McCalla
US DISTRICT COURT

